                               Case 1:22-cr-00100-CM Document 4 Filed 11/18/21 Page 1 of 1
                                                                 End Time:
                                                                                                  Proceeding via: (Z) CourtFlow DAT&T
DOCKET No. ~2~1m----=-g1~1~0~37_ _ _ _ _ _ __                              DEFENDANT Joseph Atkinson


AUSA Matthew Weinberg                                                      DEF. ' S COUNSEL _._.m""'a. _,rk"'-"'G'"""o-'--"m.__,.,b=in. .,.e"=r~ - ~ - - - - - -
                                                                           •   RETAINED (Z) FEDERAL DEFENDERS                 O CJA O PRESENTM ENT ONLY
0 -    -    -    -    - --           - INTERPRETER NEEDED
                                                                                          •    DEFENDANT WAIVES PRETRIAL REPORT

(Z) Rule 5      D Rule 9 D Rule 5( c)(3) D Detention Hrg.                       DATE OF ARREST ~1~1!~1-8/_2~1_ __                         • VOL. SURR.
                                                                                TIME OF ARREST . , .6!..L.a·lL...5'----'....
                                                                                                                         amu...__ _ _     • ON WRlT
D Other: - - - - - - - - - -- -- - -                                            TIME OF PRESENTMENT 4 :45 om


                                                                 BAIL DISPOSITION
                                                                                                                                           0 SEE SEP. ORDER
(Z) DETENTION ON CONSENT W/0 PREJUDICE                                    O DETENTION: RISK OF FLIGHT/DANGER                               O SEE TRANSCRIPT
0 DETENTION HEARING SCHEDULED FOR:
• AGREED CONDITIONS OF RELEASE - - - - - -- - -
• DEF. RELEASED ON OWN RECOGNIZANCE
O$ _ _ _ _ _ P~ O _ _ _FRP
0 SECURED BY$ _ _ _ __ CASH/PROPERTY:
0 TRAVEL RESTRICTED TO SDNY/EDNY/     - - - - - - - - - - - - - --                                                                        - - - -- - -
• TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
0 SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

0 PRETRIAL SUPERVISION: 0 REGULAR O STRICT OAS DIRECTED BY PRETRIAL SERVICES
0 DRUG TESTING/TREA TMT AS DIRECTED BY PTS O MENTAL HEAL TH EV AL/TREA TMT AS DIRECTED BY PTS
0 DEF. TO SUBMIT TO URINALYSIS ; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

0 HOME INCARCERATION                      O HOME DETENTION                  O CURFEW                O ELECTRONIC MONITORING                           O GPS
• DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES
0 DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] 0 DEF. TO CONTINUE OR START EDUCATION PROGRAM
0 DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

0 DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
0 DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:
                                                                       - - - - - -- - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ ; REMAINING CONDITIONS TO BE MET BY: _ _ __ _

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:


 *****DELAYED DOCKETING*****SEALING ORDER***** to be signed after conference.

Medical Needs Order signed




0 DEF. ARRAIGNED; PLEADS NOT GUILTY                                                           O CONFERENCE BEFORE D .J. ON -                      -----
• DEF. WAIVES INDICTMENT
0 SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 316l(h)(7) UNTIL _ _ _ _ __

For Rule 5(c)(3) Cases:
0 IDENTITY HEARING WAIVED                                                 0 DEFENDANT TO BE REMOVED
0 PRELIMINARY HEARING IN SDNY WAIVED                                      0 CONTROL DATE FOR REMOVAL: -                           - -- --


PRELIMINARY HEARING DATE: ~1=2/~1~7 /=2=1_ __                             0 ON DEFENDANT'S CONSENT                           ~      -~'   -=--
                                                                                                                            ~                    (_   ___--_::=:i
                                                                                                                                                         _
DATE: 11/18/21
                                                                                       UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.
~          (original) - COURT FILE       £INK - U.S. ATTORNEY' S OFFICE            Y.fil..Lilli:'. - U. S. MARS HAL      QB.EEN - PRETR IAL SERV ICES AGENCY
 Rev ' d 20 16
